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5UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
In re:                                                         :
                                                               :
BERNARD L. MADOFF INVESTMENT                                   :   Case No. 08-99000 (SMB)
SECURITIES LLC,                                                :   Adv. Proc. No. 08-01789 (SMB)
                                                               :   SIPA LIQUIDATION
                                    Debtor.                    :
---------------------------------------------------------------X
IRVING H. PICARD, Trustee for the Liquidation :
of Bernard L. Madoff Investment Securities LLC, :
                                                               :
                                    Plaintiff,                 :
                                                               :   Adv. P. No. 10-05286 (SMB)
LEGACY CAPITAL LTD. and                                        :
KHRONOS LLC                                                    :
                                                               :
                                    Defendants.                :
---------------------------------------------------------------X

                                   ERRATA ORDER
                    MEMORANDUM DECISION REGARDING MOTIONS
                   TO DISMISS THE TRUSTEE’S AMENDED COMPLAINT

A P P E A R A N C E S:

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STUART M. BERNSTEIN
United States Bankruptcy Judge:

       IT IS HEREBY ORDERED that the Court’s Memorandum Decision Regarding Motions

to Dismiss the Trustee’s Amended Complaint, dated Mar. 14, 2016, is modified as follows:

       Page 5, footnote 3, which reads: “A copy of the Renaissance Report is annexed as Exhibit

C to the”

                                   should be changed to read

       “A copy of the Renaissance Report is annexed as Exhibit C to the Declaration of Eric B.

Fisher in Support of Khronos LLC’s Motion to Dismiss the Amended Complaint Under

Bankruptcy Rule 7012(b) and Federal Rule of Civil Procedure 12(b)(6), dated July 30, 2015

(“Fisher Declaration”) (ECF Doc. # 120-2).)”

Dated: New York, New York
       May 5, 2016

                                                     /s/ Stuart M. Bernstein
                                                     STUART M. BERNSTEIN
                                                   United States Bankruptcy Judge




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